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                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK

------------------------------ x
H. CRISTINA CHEN-OSTER, SHANNA :
ORLICH, ALLISON GAMBA and MARY :
DE LUIS,                       :
                               :
                   Plaintiffs, :
                               :
              v.                                  10 Civ. 6950 (AT) (RWL)
                               :
                               :
GOLDMAN SACHS & CO. and THE    :
GOLDMAN SACHS GROUP, INC.,     :
                               :
                   Defendants.
                               :
------------------------------ x

                        DEFENDANTS’ RESPONSE TO
                   NOTICE AND STATEMENT OF OBJECTION


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                            The Goldman Sachs Group, Inc.

October 27, 2023
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                                       INTRODUCTION

               Just one out of the 2,829 Settlement Class Members in this thirteen-year-long class

action have objected to the proposed Settlement. 1 (“Objection” or “Obj.”; ECF No. 1462-1,

Ex. D.) This “very low number of objections” standing alone “evidences the fairness” of the

Settlement. In re Worldcom, Inc. Sec. Litig., 2005 WL 2319118, at *15 (S.D.N.Y. Sept. 21, 2005)

(Cote, J.); see also Melito v. Am. Eagle Outfitters, Inc., 2017 WL 3995619, at *12 (S.D.N.Y.

Sept. 11, 2017) (Caproni, J.) (finding low objection rate “weigh[ed] in favor of approval”); In re

Glob. Crossing Sec. & ERISA Litig., 225 F.R.D. 436, 457–58 (S.D.N.Y. 2004) (Lynch, J.) (low

number of objectors and opt-outs was “a ringing endorsement of the settlement by class

members”).

               Critically, the sole Objector does not challenge any of the monetary or

programmatic relief to be provided to the Settlement Class, the scope of the reciprocal releases, or

Class Counsel’s requested fees. See In re Marsh & McLennan Cos., Inc. Sec. Litig., 2009 WL

5178546, at *1 (S.D.N.Y. Dec. 23, 2009) (McMahon, J.) (approving class settlement where “[n]ot

one” objector “has objected to the amount of the Settlement, or to any of the substantive terms of

the Settlement”). Rather, the objection arises from the Objector’s dissatisfaction with receiving

“only the minimum Settlement Share ($3,000)” (Obj. at 2) based on less than four months of work

in a Class position over a more than 20-year Class period, and the fact that she cannot receive

settlement credit for her time spent in a non-revenue-producing position that is outside the

Settlement Class definition (see Settlement Agreement § III(z)(1)).




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       All capitalized terms not otherwise defined herein are defined the Settlement Agreement
(see ECF No. 1441-1).
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                The Court should reject this single objection. First, the Objector misreads the

March 30, 2018 Class Certification Order and the underlying briefing as somehow supporting a

broader class definition. But as both Plaintiffs and Defendants agree, the massive record in this

case confirms that class membership was at all times limited to women in revenue-producing roles

in the three relevant Goldman Sachs divisions. Second, the Objector claims, based only on her

experience in a job she had held for a few months, that Goldman Sachs’s process for designating

employment positions as “revenue-producing” is arbitrary. Not so. Since at least a decade before

this action was filed, Goldman Sachs has followed a principled and clear business process for

designating job codes as either revenue-producing or non-revenue producing, and it is undisputed

that the Objector held a position designated as non-revenue producing until January 2023.

                For the reasons below, and as other courts have done when faced with similar

objections, this Court should reject the objection and grant final approval of the Settlement.

                                            ARGUMENT

I.      THIS CLASS ACTION WAS BROUGHT AND LITIGATED ONLY ON BEHALF
        OF FEMALE GOLDMAN SACHS EMPLOYEES IN REVENUE-PRODUCING
        JOB CODES IN THREE GOLDMAN SACHS DIVISIONS.

                The Objector’s claim that the Settlement Class definition “significantly deviates”

from the class certified by this Court (Obj. at 3–4) is wrong. Instead, as shown below, the

Settlement Agreement, which this Court has preliminarily approved (see May 15, 2023 Order

(ECF No. 1446) at 1–2), is based on the same class definition that the parties and the Court has

applied consistently since the start of this action.

                Plaintiffs determined the scope of this class action in 2014 by moving to certify a

class of “female Associates and Vice Presidents in revenue-producing roles.” (May 19, 2014 Class

Cert. Br. (ECF No. 247) at 3 (emphasis added).) This limitation was clearly enunciated throughout

class certification briefing. The Objector cites to a passage in Plaintiffs’ reply brief in support of


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class certification that referred to “employees in the three revenue-producing divisions” (Obj. at 7

(quoting July 29, 2014 Class Cert. Reply Br. (ECF No. 310) at 1)), but ignores that the same brief

makes clear that Plaintiffs moved to represent a class composed only of “female Associates and

Vice Presidents in revenue-producing roles” (Class Cert. Reply Br. at 45 (emphasis added)).

Indeed, Plaintiffs’ evidence in support of commonality at class certification was their statistical

expert’s analysis based on Goldman Sachs’s Human Capital Management data (“HCM Data”) only

for employees in revenue-producing roles (see Class Cert. Br. at 39)—no other data was analyzed.

(See Feb. 18, 2014 Cascio Report (ECF No. 260) ¶ 30 (analyzing “U.S.-based Associates and

Vice-Presidents in revenue-producing roles of four divisions”); Nov. 19, 2013 Farber Dep. Tr.

(ECF No. 362-3) at 111:4–10 (confirming his analysis was limited to individuals in “revenue-

producing position[s] in a revenue division during the time frame [he was] studying them”)

(emphases added).) Plaintiffs also expressly argued that Rule 23(a)’s requirements of numerosity,

commonality, typicality, and adequacy were satisfied only for women in “revenue-producing

roles” in the class-relevant divisions. (Class Cert. Br. at 3.)

               The Court’s Class Certification Order, in granting certification, nowhere purports

to expand the class beyond the scope of Plaintiffs’ motion. Nor could it have, because there was

no “evidence that each of Rule 23’s requirements ha[d] been met” for employees in non-revenue

producing roles. Johnson v. Nextel Commc’ns Inc., 780 F.3d 128, 137 (2d Cir. 2015) (citing

Amchen Prods., Inc. v. Windsor, 521 U.S. 591, 614 (1997)) (vacating and remanding district

court’s grant of class certification for failure to prove that Rule 23 requirements were met).

               Since certification was granted, the limitation of the class to female employees in

“revenue-producing” roles in three Goldman Sachs divisions has undergirded every aspect of this

litigation. Merits and expert discovery were, of course, also based on HCM Data limited to




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“Associates and Vice Presidents in ‘Revenue-coded’ positions in the Securities, Investment

Management, and Investment Banking Divisions of Goldman Sachs who worked in the United

States.” (Oct. 11, 2017 Obradovich Aff. (ECF No. 546-3) ¶ 2; see, e.g., Apr. 19, 2021 Farber

Report (ECF No. 1242-44) ¶ 45 (opining that Plaintiffs’ damages model was appropriate for “a

class consisting of revenue-producing employees”); Jan. 15, 2021 Dunn Report (ECF No. 1225-

56) at 3 n.4 (“[T]he Class in this case is limited to revenue-producing professionals, as identified

by the job codes used by Goldman Sachs.”) (emphases added).)

               Indeed, the record in this case is replete with references to this limitation on class

membership. For example:

       In a March 2020 order compelling arbitration, the Court found that “all Class Members
        who entered into Separation Agreements” with arbitration clauses “were well-educated
        professionals in revenue-producing roles.” (Mar. 26, 2020 Order (ECF No. 983) at 31.)

       Plaintiffs’ damages expert testified: Q. “Well, suppose somebody in the class moved out
        of a revenue-producing position in a revenue division during the time frame you were
        studying them; did you remove them from the data for the years they were not in those
        revenue-producing positions?” A. “That was the plan.” (Nov. 19, 2013 Farber Dep. Tr.
        at 111:4–10.)

       Plaintiffs’ industrial and organizational psychologist’s expert report describing his analysis
        of “U.S.-based Associates and Vice-Presidents in revenue-producing roles of four
        divisions. (Feb. 18, 2014 Cascio Report ¶ 30.)

       Plaintiffs’ damages expert stated in his report that he was “asked to analyze data concerning
        employees in revenue-generating positions located within three of Goldman’s divisions.”
        (Jan. 15, 2021 Farber Report (ECF No. 1250-18) ¶ 5.)

       Plaintiffs’ industrial and organizational psychology expert described his focus on “the
        performance-review and promotion processes for U.S.-based Associates and Vice-




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         Presidents in revenue-producing roles of three divisions[.]” (Jan. 15, 2021 Cascio Report
         (ECF No. 1242-34) ¶ 37.)

        Defendants’ industrial and organizational psychology expert opined that competency
         factors for “non-revenue professionals” are “not relevant to this matter.” (Jan. 15, 2021
         Dunleavy Report (ECF No. 1242-39) at 5A-9.)

        Plaintiffs’ compensation expert opined that “Associates and Vice Presidents in revenue-
         generating roles at financial services firms are purposefully educated and trained with a
         common skill set to enable flexibility to respond to the employer’s needs and changes in
         the market.” (Mar. 19, 2021 Yermack Report (ECF No. 1242-48) ¶ 13.)

        Defendants’ expert concerning Goldman Sachs’s culture explained that the data analyzed
         in her report was “limited to people who were, at least at one relevant time, in a revenue-
         producing role in one of Goldman Sachs’ offices in the United States, in IMD, IBD, or
         Securities.” (Mar. 19, 2021 Stockdale Report (ECF No. 1192-10) ¶ 300, n.670.)

        Plaintiffs’ damages expert testified: Q. “And did you analyze the data for Goldman Sachs
         employees who did not work in a revenue-generating position?” A. “Not that I can recall,
         no.” (May 18, 2021 Farber Dep. Tr. (ECF No. 1242-45) at 21:23–22:2.)2

                The extensive merits and expert discovery record, which was limited to female

associates and vice presidents in revenue-producing roles, further informed the parties’ dispositive

motions, damages calculations, settlement negotiations, and more. There is no question that the

Settlement Class definition in the Settlement Agreement is fully consistent with the scope of this

litigation since Plaintiffs moved for class certification in 2014.

                The Court should reject the Objector’s request to expand class membership and

provide settlement benefits to employees as to whom the requirements of Rule 23 were never



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         All bolded and italicized emphasis added.



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satisfied and whose substantive claims were never litigated. Such an expansion of the class would

unfairly and arbitrarily reduce the expected recovery of those employees in revenue-producing

roles on whose behalf this class action was brought.

               Courts routinely reject this kind of objection seeking, at the eleventh hour, to re-

define the class for the benefit of persons who were never in the class to begin with. In In re Marsh

& McLennan Cos., Inc. Securities Litigation, for example, a securities class action excluded the

defendants’ employees from the class. 2009 WL 5178546, at *8, *25. In rejecting the objection

that it was “‘unfair’ to exclude former employees” as “meritless,” Judge McMahon emphasized

that the “class definition has always excluded . . . Marsh employees.” Id. at *25 (emphasis added).

               Likewise, in In re WorldCom, Inc. Securities Litigation, the Court approved a

partial final settlement of a class of “all persons and entities who purchased or otherwise acquired

publicly traded securities of WorldCom during [the relevant period], and who were injured

thereby.” 2004 WL 2591402, at *3 (S.D.N.Y. Nov. 12, 2004) (Cote, J.). An objector sought to

“alter the class definition” to include sellers of “instruments bought by WorldCom creditors to

hedge their Worldcom debt.” Id. at *15. The court rejected this request because those issuers

were “not members of the class” and the class action was “not brought on [their] behalf.” Id.

Indeed, there is nothing inherently “unfair” about being excluded from a class action settlement

because persons outside the settlement class are equally outside the scope of the release, and retain

whatever rights they have to pursue claims. Melito, 2017 WL 3995619, at *14 n.19, *20

(approving settlement and process for identifying class members as “fair and reasonable”).

               Contrary to the overwhelming record and applicable law, the Objector seeks to turn

back the clock by a decade and have this Court redefine the class in this action, at the expense of




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women in revenue-producing roles at Goldman Sachs on whose behalf this class action was

litigated. Her objection should be rejected.

II.    GOLDMAN SACHS’S “REVENUE-PRODUCING” JOB CODE DESIGNATION IS
       NOT ARBITRARY.

               The Objector’s claim that the HCM Data, used to identify revenue-producing

employees, “arbitrarily” excludes relevant individuals from the Settlement Class and results in an

“unfair” allocation of Settlement Shares is demonstrably incorrect. (Obj. at 4–6.)3

               First, Goldman Sachs’s designation of a position as revenue-producing is made

based on the skills and responsibilities required for the role, as determined by business unit

managers and HCM business partners who are familiar with the position.                Making those

determinations has been part of the Firm’s standard business processes and job coding since at

least a decade before this class action was filed in 2010, and all business partners are trained in

how to apply job codes for their divisions.

               Second, HCM Data has consistently been used to determine which employees’ job

codes were “revenue-producing” throughout this case, up to and including for purposes of

identifying Settlement Class members. In fact, the Objector became a Settlement Class Member

only because Goldman Sachs insisted on a consistent application of the “revenue-producing”

designation. In August 2023, Goldman Sachs moved the Court to include 45 Vice President

Wealth Management Professionals (“VP WMPs”), including the Objector, who had inadvertently

been excluded due to a “ministerial coding error” in the HCM Data. (Aug. 26, 2023 Order (ECF




3
        Because the Objector is wrong that the revenue-producing designation is “arbitrary” or that
the Class should be broadened, she is equally wrong that any “sub-classes” should be credited in
the Settlement or that the Settlement Agreement’s notice procedures were violated in any way.
(Obj. at 5–6.)



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No. 1455) at 1.) The Objector is a Settlement Class Member precisely because the “revenue-

producing” designation is not applied arbitrarily.

                  Specifically, the Objector complains about the designation of the VP WMP position

as revenue-producing and the Associate WMP position as non-revenue producing because, in her

view and, based only on her personal experience, the two roles involve similar responsibilities.

(Obj. at 2–4.) 4 In fact, the different designations for these roles are based on meaningful

differences. For example, VP WMPs are expected to act and make decisions independently on

matters of strategic importance which affect financial and legal risk to the Firm and the Firm’s

clients, while Associate WMPs typically would not be involved in those types of decisions without

proper oversight and direction from their more senior colleagues. The Objector’s subjective views

of her responsibilities are not a substitute for Goldman Sachs’s reasonable business judgment about

job-coding for these positions, nor do they suggest that Goldman Sachs’s judgment is “arbitrary.”

(Obj. at 2–4.)5




4
        The Objector also attaches to her objection a declaration from an individual who states that
she is “presently excluded from being a Settlement Class Member because Goldman Sachs has
chosen not to categorize Associate WMPs as ‘revenue-producing.’” (See Obj. at 9.) By her own
admission, the declarant is not a Settlement Class Member and therefore “do[es] not have standing
to object to a settlement of [the] class action.” Cent. States Se. Sw. Areas Health & Welfare Fund
v. Merck-Medco Managed Care, 504 F.3d 229, 244 (2d Cir. 2007). The declaration should not be
considered by the Court.
5
        If the Court were to accept the Objector’s position that the Court must look to the specific
experience of each person in a particular role to determine if she works in a “revenue-producing”
position, the Settlement Class (and, indeed, the class certified at the merits stage) would not meet
Rule 23’s requirements because it would not be ascertainable. In re Petrobras Sec., 862 F.3d 250,
257 (2d Cir. 2017). Ascertainability requires that a class be “defined using objective criteria that
establish a membership with definite boundaries.” Id. If membership in the class cannot be
determined using “objective” criteria such as the HCM Data, the entire basis for class treatment
that the Court relied on in 2018 would be eviscerated.



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                 At bottom, the objection amounts to a request for compensation for time spent in a

  non-revenue-producing role. While “seeking greater compensation from” Goldman Sachs “may

  be preferable to” the Objector, it is not a valid basis to object to the overall fairness of the

  settlement.   Davis v. Eastman Kodak Co., 2010 WL 11558014, at *15 (W.D.N.Y. 2010)

  (approving settlement in class action employment litigation and rejecting objection).

                                          CONCLUSION

                 In sum, because the objection is driven by a misunderstanding of the record and has

  no bearing on the fairness, reasonableness, or adequacy of the Settlement, the Court should

  overrule her objection and finally approve the Settlement.

                                                        Respectfully submitted,

                                                        /s/ Robert J. Giuffra, Jr.
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